 

 

 

 

 

Case 1:19-mj-00168 Documen `|ed in T SD on 01/25/19 Page 1 of 1

ittin (ltcv llt'|li CrimintilCoinp|aint
UNITEI) STATES DISTRICT COURT
for the
Southern District ot 'l`e.\'as

l_,lnited Stntcs ol`America `) /
" » m -
gm Nu @/ lq-' wax nlted States District Court

)
tose inns i..atiRANcut;;r i 5°“"‘€"‘ D'Sf"¢f °f TeXaS
) FlLED
[,)L’/i’rlt/<`IH//»\') i JAN 2 5 2019
CR|MH\’AL C()MPLAIN’I`
l. the coi'nplainaiit in this case. state that the following is true to the best ot`iny knowledge and belief DaVid J~ B|’ad|ey, Clerk of COU
On or about the dat€t's) Of.lanuary 25. 2019 in the county ofCanieron in the Southern District t)ch.\'as. the defendarit(s)
violatcd:
(`.`r)dc .S`ec/ion fjffi:n.ra De.rc/'i/)lion
Titlc. lS_ Unitcd Statcs C`.odc1 Scctions 2237 li is unlawful for the master` operator. or person in charge ofa vessel

subject to the jurisdiction of the United States to knowingly fail to
obey nn order by an authorized cheral law enforcement officer to
heasz to that vessel lt is unlawful to forcibly rcsist. oppose. prevcnt.
impede intimidate or interfere with a boarding or other law
enforcement action

This criminal complaint is based on these facts;
Ctn the l\/lorning oi`.lanuaiy 25th ?_Ol‘) a tlS Coast tiuard aircraft was conducting a maritime patrol and spotted a lights out,
fishing vessel tLancha) traveling in a southerly directioii. 'i`hc lancha was approximately 27 nautical miles offshore and 33
Nautical miles north of the international maritime boundary |inc. `l`hc US (,`oast Guard C'utter Bcnjamin Daile_v was taskcd with
the interdiction ot`thc lanclia. Tlie US Coast Guard Cntter launched their small boat in an eli`ort to stop and inspect the
southbound laiicha. The US Coast Guard small boat used all available means including activating their liashing blue law
enforcement lights and engaging sirens to hail thc lancha and compel them to stop The Captain ofthe lancha and the
crewmembers were all aware ofthe US Coast (iuards presence and their efforts to stop them ’l`hc lancha still continued to travel
south and not heave to the US Coast Guard small boat. The USCG small boat received permission to use warning shots to further
compel the lancha to stop. They deployed 4 warning shots which consist ofu shotgun fired. flare like projectile that produces a
bright ll:~ish and a loud audible hang as a further warning to stop. A|`tcr thc US Coast Gnard small boat launched the wanting
rounds the lancha finally stopped and allowed the liS florist (iuard crew to board their vessel The Captain of thc lancha was
placed under arrest and the entire crew and l:irieha was transported back to the US Coast Gtiard Station on South Padre island
”l`X. '

/ Q/"
/vt/

m Continucd on the attached sheet ,
Vfi/cn'/).'<r/)izr/r! 'r .$`/gna/urt'

Joshua Clark. Special Agcnt

I’rinlcd name and title

Submi'tted by reliable electronic means, sworn to an_d signature attested
as per Fed. Ru|es Cr. Proc. 4.1

Janua[y 25l 2019
/. iu'gc"s.rr_g’m)tiire

L':ire

 

 

ignacio To ‘va U.S. Maiz,istratc Judze

Brownsville, Texas
j’rm/¢'c] name nrr¢/ irl/is

C`i'/_i' amf Srr)le

